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UNITED STATES DISTRICT COUq§F[/@ __ \QO
WESTERN DISTRICT OF TENNESSEE 8 P” '

Eastern Division (3; -f".rj;¢,.z,. 4"
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-vs- Case No. l:05cr10043-001T

GUlLLERl\/IO OROZCO-BOBADILLA

 

ORDER FOR lNTERPRETER'S SERV|CES

On finding that the services of an interpreter are necessary for interpreting judicial
proceedings herein it is, in accordance with the Court Interpreter‘s Act,

ORDERED that an appointed interpreter is to serve at all further judicial proceedings before
the Court in this case, with leave to submit claim for compensation therefor at the conclusion of the
case on forms of the Clerk in accordance With the Act and regulations promulgated thereunder

DONE and ORDERE]) in lll South Highland, Jackson, Tennessee this QX!L day

of August, 2005.

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S. Thornas Anderson
United States Magistrate Judge

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Counsel for Defendant

Court Appointed Interpreter

Thls document entered on the docket s §tlno§ompl|anm
with Rule 55 andlor 32(b) FRCrF on

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UNIT§D STAT§S DISTRICT COURT- W§ST§ §N DISTRICT OF T§NN§SS§§

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 1:05-CR-10043 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

J ames W. PoWell

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Honorable J ames Todd
US DISTRICT COURT

